Case 2:04-cr-20389-.]Pl\/| Documeht 45 Filed 06/22/05 Page 1 of 2 PagelD 69

also \;s`r’ §§ "3'§"' men B‘MW -°-"*

|N THE UN|TED STATES DlSTRlCT COURT

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Plaintirf,
vs_ No. 04-20389-:\/1: 0 !m\`@/@U
MoT.IoN sss;r_s_sp f\ ‘ _… '1
CYNTHlA L. l\/lcCASTER, JON PHIPPS \<,ci,
Defendant

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REouEsT To LEAvE-:li:u soié'rioi\i DATE

 

Comes now the Defendant, Cynthia L. |VlcCaster by and through her
attorney, Handel R. Durhan‘i1 Jr., and respectfully requests that she be allowed to
leave the jurisdiction to attend a family holiday reunion in`Chicago, illinois from
July 1 through July 5, 2005.

VVHEREFORE, Defendant respectfully requests permission to leave the

jurisdiction for the above explained purpose

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Res submitted,

 
  

 

     

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. Durham, Jr.
y for Defendant
100 N. Main Bldg., Suite 2601
l\/lemphis, Tennessee 38103
Tel. No. (901) 543-0866

day ofM-a'ys, 2005.

J?w£'

Attorney for Defendant

 

   

UNITED sTATE DRISTIC COURT - WESTER D's'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 45 in
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Honorable J on McCalla
US DISTRICT COURT

